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       Lee Gelernt*                            Bardis Vakili (SBN 247783)
 1     Judy Rabinovitz*                        ACLU FOUNDATION OF SAN
       Anand Balakrishnan*                     DIEGO & IMPERIAL COUNTIES
 2     Daniel Galindo (SBN 292854)             P.O. Box 87131
       AMERICAN CIVIL LIBERTIES                San Diego, CA 92138-7131
 3     UNION FOUNDATION                        T: (619) 398-4485
       125 Broad St., 18th Floor               F: (619) 232-0036
 4     New York, NY 10004                      bvakili@aclusandiego.org
       T: (212) 549-2660
 5     F: (212) 549-2654                       Stephen B. Kang (SBN 292280)
       lgelernt@aclu.org                       Spencer E. Amdur (SBN 320069)
 6     jrabinovitz@aclu.org                    AMERICAN CIVIL LIBERTIES
       abalakrishnan@aclu.org                  UNION FOUNDATION
 7
                                               39 Drumm Street
 8                                             San Francisco, CA 94111
       Attorneys for Petitioners-Plaintiffs    T: (415) 343-1198
 9     *Admitted Pro Hac Vice                  F: (415) 395-0950
10                                             skang@aclu.org
                                               samdur@aclu.org
11
                             UNITED STATES DISTRICT COURT
12                         SOUTHERN DISTRICT OF CALIFORNIA
13
14     Ms. L., et al.,                                Case No. 18-cv-00428-DMS-MDD

15                   Petitioners-Plaintiffs,
              v.
16                                                    Date Filed: October 23, 2019
       U.S. Immigration and Customs Enforcement
17     (“ICE”), et al.,
                                                      PLAINTIFFS’ SUPPLEMENTAL
18                                                    BRIEF IN SUPPORT OF MOTION
                     Respondents-Defendants.          TO ENFORCE PRELIMINARY
19                                                    INJUNCTION
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 1           Plaintiffs submit this supplemental brief to address Defendants’ recently submitted
 2     protocols and standards for ongoing separations. Dkt. 487 at 2. Plaintiffs make two brief
 3     points—first, that the government is treating criminal history as a per se basis to separate,
 4     without consideration of whether a parent can be housed in family detention; and second,
 5     the separation guidance documents show that DHS’s separation standards are both ill-
 6     defined and not uniform throughout the country.
 7                                            ARGUMENT
 8           I.     The government is separating families based on criminal history, without
 9                  regard to whether criminal history makes the parent ineligible for family
10                  detention.
11     1.    As Plaintiffs have previously explained, there are two distinct inquiries that must
12     occur here. The first is whether, under the well-established due process standard used by
13     every state for decades, the parent is unfit or presents a danger to the child. That is a
14     demanding standard that rightly takes into account the gravity of tearing children away
15     from their parents and the settled principle that even parents who have committed serious
16     crimes in the past will rarely present a current danger to their own children. The second
17     inquiry is whether a fit parent who presents no danger to his child should nonetheless be
18     separated because the parent must be detained and in the government’s view there is no
19     appropriate setting to detain the family together. Separation at this second stage raises
20     serious issues because, by definition, the government is separating children from fit
21     parents who present no danger to them.
22           The reason to distinguishing between these two inquiries is both practical and legal.
23     As a practical matter, a parent who is no danger to his child should be immediately
24     reunified once the parent is released from detention—at that point, the family detention
25     question is no longer relevant. But under Defendants’ view, the mere existence of any
26     criminal history—regardless of whether it demonstrates danger to the child–allows them
27     to take the parent out of the class, relieving the government of any obligation to
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 1     immediately reunify the family when the parent is released from an adult detention center
 2     (which happens frequently when the government cannot show that the parent is a flight
 3     risk or danger).
 4           More fundamentally, absent distinct inquiries, the Court would be sanctioning a
 5     separation policy that is wholly out of step with years of uniform child welfare policy, and
 6     indeed, unprecedented. Although the government has tried to focus on extreme outlier
 7     cases, it has now admitted that its policy is to separate for “violent misdemeanors” and
 8     any “felony.” In practice, this has meant even decades-old theft offenses and other similar
 9     minor offenses. The standard unquestionably and blatantly violates due process. The
10     Court should not sanction a protocol that allows parents to be deemed a danger to their
11     child based on this standard.
12     2.    The government’s opposition brief to Plaintiff’s motion to enforce attempted to blur
13     the distinction between these two inquiries. That is understandable given that the
14     government could not explain, and indeed has never attempted to explain, how it could
15     justify deeming all parents with any felony or violent misdemeanor a danger to their child.
16     And, critically, Defendants’ separation protocols now make clear that the government has
17     not developed proper and distinct standards for determining, first, whether a parent is unfit
18     or a danger to their child, and second, whether they can be housed appropriately in a
19     family facility if they pose no danger to their child. Instead, the protocols make clear that
20     any felony or violent misdemeanor is sufficient to keep the parent out of the class and
21     separate. Thus, a parent with a decades-old theft offense loses his child, is taken out of
22     the class and would not be reunited immediately once released from detention by an
23     immigration judge. Yet if the government were forced to make distinct determinations
24     and keep the parent with the theft offense in the class, reunification would be immediately
25     required once the parent was released, since under no conceivable understanding of child
26     welfare would a parent with a non-violent decades-old theft offense be viewed as a danger
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 1     to his child.1
 2              The most relevant parts of Defendants’ recent production are CBP’s “guidance
 3     documents,” which include some national-level policies from the Office of Field
 4     Operations (“OFO”), as well as local policies specific to six different ports of entry and
 5     CBP sectors.2 The national-level OFO policies focus on tracking systems for the
 6     processing of families deemed inadmissible at OFO’s ports of entry and largely repeat the
 7     text of the June 2018 Interim Guidance as to separation standards, without further
 8     explanation or elaboration. OFO Muster, “Documenting Family Units and Properly
 9     Recording Separations” (“OFO Muster”) at 2 (telling officers that “a child becomes
10     unaccompanied . . . when” the parent has a “[p]rior criminal history . . . for felonies or
11     violent misdemeanors”).3
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13       As Plaintiffs have previously noted, the second inquiry – whether there are appropriate
       placements for detained families with a criminal history – would benefit from expert
14     testimony. The initial testimony from Plaintiffs’ experts shows that there is no legitimate
15     basis for automatically excluding from family facilities all parents with violent
       misdemeanors and felonies regardless of the severity or date of the offense.
16     2
         This brief cites Defendants’ protocols by the titles of their PDFs. Many of these
17     guidance documents are heavily redacted, based on various privilege claims. Defendants
18     have produced no documents from ORR.
              The guidance documents from ICE are mostly from the summer of 2018, shortly
19     after the preliminary injunction issued. Notably, at least at that time, ICE instructed their
20     officers to presume that all separated parents were class members, and directed that any
       determinations of class membership should be referred to the Office of the Principal
21     Legal Advisor, i.e. ICE’s general counsel’s office. See, e.g., ICE ECF 479 Ex. 3. The
22     ICE documents do not explain any standards for separation, other than repeating the text
       of the Class definition’s exclusions for criminal history or communicable disease, or the
23     Interim Guidance’s mention of “felonies and violent misdemeanors.”
24            ICE also produced more current documents that describe their recently-adopted
       processes for approving. Those documents do not elaborate on their standards for
25     separations, however. The documents also address ways for parents to dispute
26     separations; Plaintiffs will address that issue at a later date, after further discussions with
       the government.
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           This document is not dated but its electronic file name indicates it is from April 1, 2019.
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 1           These policies allow for the separation of parents based on the parent’s criminal
 2     history alone, without regard to whether that history makes the parent inappropriate for
 3     family detention. The OFO policies expressly distinguish between separations based on
 4     the “criminality” of the parent, without reference to family detention center standards, and
 5     separations conducted “[a]t the request of ICE/ERO.” OFO Muster at 2. The latter
 6     separation basis “is to be used in cases where the family unit will not be accepted into [a
 7     family residential center] based on their detention standards and the decision to separate
 8     has been made by ICE.” Id. Thus, the national-level OFO policies allow CBP to separate
 9     based on criminal history alone—they do not even require CBP officers to contact ICE
10     before separation, to check whether the family would be eligible for placement in a family
11     facility. Rather, it appears that ICE can ask CBP to conduct additional separations, on top
12     of those CBP has already conducted unilaterally based on the “felony and violent
13     misdemeanor” standard.
14           This framework is consistent with the local-level policies Defendants have
15     produced, which similarly allow separation based on criminal history alone, without
16     reference to family detention eligibility. For example, the Rio Grande Valley Sector’s e-
17     mail guidance mentions detention standards only when discussing separations “that do not
18     fall within the CBP Interim Guidance.” Such reasons include “gang affiliation” and
19     “foreign criminal history,” which the Interim Guidance does not mention. USBP RGV
20     Updated Local Guidance E-mail at 1. Only for these separations that go beyond those
21     allowed by the Interim Guidance does the RGV policy require consultation with ICE
22     about whether the parent can be put in a family residential center. See id. (telling officers
23     to “send the separation requests” as they would for any separations, and that officials
24     reviewing such requests “will then advise if the station should check with ICE-ERO”
25     about family detention exclusions). Other e-mails from the individual ports and field
26     offices do not even mention the standards for placement in family detention, suggesting
27     that CBP officers routinely conduct separations without checking with ICE about whether
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 1     the parent is eligible for family detention.4
 2            The overriding point is that Defendants cannot, and have not, seriously attempted to
 3     argue that any past felony or violent misdemeanor would render a parent a danger to their
 4     child, or that there is support for such a standard in child welfare law. Instead, Defendants
 5     have sought to confuse the issue by vaguely suggesting that the ongoing separations are
 6     warranted by detention standards. But the finally-produced protocols make clear that the
 7     government’s separation decisions are based on the parent’s criminal history alone,
 8     without regard to whether the family can be housed appropriately together in a detention
 9     facility. Indeed, the protocols make clear that only in certain cases does the government
10     consult ICE regarding detention placement – and even then it appears that the government
11     consults the detention facilities to expand who it separates (for instance, parents who have
12     not actually been convicted of an offense).
13            Plaintiffs respectfully request that the Court hold invalid a separations standard
14     based on violent misdemeanors and any felony, and then request more information from
15     the parties on the proper standard for detention placement (an inquiry that can take into
16     account deference to the government but should not provide unfettered deference given
17     that the lives of little children are at stake).
18            II. The standards are also neither well-defined nor uniform.
19            In addition to the fundamental problem discussed above, the standards are vague
20     and not uniform across the country. As to the “criminal history” standard itself, the CBP
21     documents largely repeat the text of the Interim Guidance and state that separations are
22     permissible because of convictions for “felonies and violent misdemeanors,” without
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       4
24       Defendants’ production includes intake forms for the Berks and Dilley family facilities,
       which ask if anyone in the family has criminal history. But those forms do not say what
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       criminal history renders the family unqualified for family detention. And as Plaintiffs
26     have explained, their previous cited policies do not explain why criminal history renders
       a parent ineligible for family detention, nor explains what criteria governs eligibility.
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       Dkt. 471 at 15-16 & n.5.
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 1     explanation as to what that standard means in practice. But, as Plaintiffs have explained,
 2     evidence of actual practice shows this nebulous standard is applied haphazardly at best:
 3     many parents have been separated despite lacking any indication that they have been
 4     convicted of a felony or a violent misdemeanor. See, e.g., Dkt. 439-1 at 7-10 (describing
 5     numerous separations based on arrests only, including where the case was dismissed; DUI
 6     offenses, marijuana possession convictions, fraud offenses, “theft by shoplifting” and
 7     “driving without a license,” “public intoxication arrests and DUI” and “fictitious or
 8     fraudulent statement or representation”).
 9           As noted, CBP has also produced what appear to be local-level policies from six
10     different ports of entry or CBP sectors—San Diego, Laredo, Tuscon, Yuma, Rio-Grande
11     Valley, and Boston. Some of these “guidance documents” are merely e-mails passing
12     along the June 2018 Interim Guidance, with brief additional notes or excerpts of the
13     Interim Guidance pasted into the body of the email. See OFO Boston Field Office Local
14     Guidance E-mail; USBP SDC local E-mail; USBP Yuma Sector Local Guidance E-mail.
15     These emails do not add meaningful information about the actual standards officers apply
16     on the ground to separate families.
17           Other CBP policies contain limited guidance that does not appear in documents
18     from other field offices. For example, documents from the Laredo port of entry contain
19     additional explanation as to how to treat common law relationships between parents and
20     children, or families with adult children. OFO Laredo Local Guidance, Nov. 13, 2018 E-
21     mail at 1. This additional detail in the Laredo guidance is not reflected in the emails
22     concerning the other field offices. See also Rio Grande Valley E-mail (noting scenarios
23     not covered in the CBP guidance that “still qualify for separation,” such a “foreign
24     criminal history”). Guidance in the Yuma sector tells officers that “[p]rior immigration
25     violations and/or convictions should not be considered when determining whether to
26     separate,” USBP Yuma Sector Local Guidance, but the government admits it has been
27     treating convictions for Section 1326 as a basis to separate. Dkt. No. 464 at 18 n.6, 19
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 1     n.7. The lack of consistency, even on the face of the limited documents Defendants have
 2     produced, suggests that each field office and port of entry may be applying its own
 3     practices and standards.
 4                                            CONCLUSION
 5           The Court should require the government to revise its separation standard and then
 6     order the parties to address the question of appropriate placements for families in which
 7     the parent is neither unfit nor a danger to her child.
 8
 9
       Dated: October 23, 2019                     Respectfully Submitted,
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                                                   /s/Lee Gelernt
11     Bardis Vakili (SBN 247783)                  Lee Gelernt*
       ACLU FOUNDATION OF SAN                      Judy Rabinovitz*
12     DIEGO & IMPERIAL COUNTIES                   Anand Balakrishnan*
       P.O. Box 87131                              Daniel A. Galindo (SBN 292854)
13     San Diego, CA 92138-7131                    AMERICAN CIVIL LIBERTIES
       T: (619) 398-4485                           UNION FOUNDATION
14     F: (619) 232-0036                           IMMIGRANTS’ RIGHTS PROJECT
       bvakili@aclusandiego.org                    125 Broad St., 18th Floor
15                                                 New York, NY 10004
       Stephen B. Kang (SBN 2922080)               T: (212) 549-2660
16     Spencer E. Amdur (SBN 320069)               F: (212) 549-2654
       AMERICAN CIVIL LIBERTIES                    lgelernt@aclu.org
17     UNION FOUNDATION                            jrabinovitz@aclu.org
       IMMIGRANTS’ RIGHTS PROJECT                  abalakrishnan@aclu.org
18     39 Drumm Street                             dgalindo@aclu.org
       San Francisco, CA 94111
19     T: (415) 343-1198                           *Admitted Pro Hac Vice
       F: (415) 395-0950
20     samdur@aclu.org
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 1                                  CERTIFICATE OF SERVICE
 2           I hereby certify that on October 23, 2019, I electronically filed the foregoing with
 3     the Clerk for the United States District Court for the Southern District of California by
 4     using the appellate CM/ECF system. A true and correct copy of this brief has been
 5     served via the Court’s CM/ECF system on all counsel of record.
 6                                                   /s/ Lee Gelernt
 7                                                   Lee Gelernt, Esq.
                                                     Dated: October 23, 2019
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